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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA



   HARTFORD CASUALTY
   INSURANCE COMPANY

                  Plaintiff,
                                                Civil Action No. 1:18-cv-01575
          V.

  INVESTIGATIVE
  CONSULTANTS, INC., et al.

               Defendants.
_________________________________/


                                  MOTION TO DISMISS

       Defendants Investigative Consultants, Inc., Investigative Consultants, Inc. of Washington,

DC, and Donald Berlin (together the “Defendants”), by and through their undersigned counsel,

hereby withdraw the claims that form the basis of Plaintiff’s Declaratory Judgment action.

Accordingly, since there is no longer a case in controversy, Defendants respectfully request that

this Honorable Court DISMISS this case.



                                                    Respectfully submitted,

                                                    /s/ Cameron McBride
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                               CERTIFICATE OF SERVICE

       I certify that the foregoing Motion to Dismiss and Proposed Order was filed using the

Court’s CM/ECF system and thereby served on counsel to the Plaintiff listed below:


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April 8, 2019                                      /s/ Cameron McBride________
                                                   Cameron McBride
